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 5

 6   Attorneys for Plaintiff
     United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                     )   CASE NO. 2:11-CR-00429 JAM
                                                 )
12                Plaintiff,                     )
                                                 )
13       v.                                      )   MOTION TO DISMISS INDICTMENT
                                                 )   AND ORDER DISMISSING
14 SCOTT HAMILTON DURHAM,                        )   INDICTMENT
                                                 )
15                Defendant.                     )
                                                 )
16                                               )
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18            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, Plaintiff,
19   United States of America, by and through its undersigned attorney, hereby files this
20   motion and proposed order dismissing the pending indictment against defendant SCOTT
21   HAMILTON DURHAM in the above-captioned matter. The United States also asks that
22   the status conference set for August 27, 2013, be vacated.
23   Dated: August 16, 2013                          Respectfully submitted,
24                                                   BENJAMIN B. WAGNER
                                                     United States Attorney
25
                                                By: /s/ Kyle Reardon
26                                                  KYLE REARDON
                                                    Assistant United States Attorney
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               Case 2:11-cr-00429-JAM Document 159 Filed 08/20/13 Page 2 of 2




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 8                            IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                    ) CASE NO. 2:11-CR-00429 JAM
                                                )
12               Plaintiff,                     )
                                                )
13       v.                                     ) ORDER
                                                )
14 SCOTT HAMILTON DURHAM,                       )
                                                )
15               Defendant.                     )
                                                )
16                                              )
17

18            The United States’ motion to dismiss the pending indictment against defendant
19   SCOTT HAMILTON DURHAM in case number 2:11-CR-00429 JAM is granted. The
20   status conference set for August 27, 2013, is hereby vacated.
21            APPROVED AND SO ORDERED.
22   Dated: 8/19/2013
                                                    /s/ John A. Mendez
23                                                  JOHN A. MENDEZ
                                                    United States District Court Judge
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